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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Dockery                                      :
                                             :            CIVIL ACTION
               v.                            :
                                             :            No. 17-4114
Heretick, et al.                             :
                                             :

                                           ORDER

        AND NOW, this 1st day of September, 2021, upon consideration of Defendants 321

 Henderson Receivables LLC and J.G. Wentworth Originations LLC’s Motion for Summary

 Judgment (ECF No. 291, 297), Plaintiff’s Response in Opposition (ECF No. 300, 301), and

 Defendants’ Reply (ECF No. 303), and upon consideration of Defendant Stephen Heretick’s

 Motion for Summary Judgment (ECF No. 292, 293), Plaintiff’s Response in Opposition (ECF

 No. 300, 301), and Defendant’s Reply (ECF No. 304), it is hereby ORDERED as follows:

       1. Defendants 321 Henderson Receivables LLC and J.G. Wentworth Originations LLC’s

           Motion for Summary Judgment (ECF No. 291) is GRANTED.

       2. Defendant Stephen Heretick’s Motion for Summary Judgment (ECF No. 292) is

           GRANTED.

       3. The Clerk is directed to close the case.

                                                     BY THE COURT:


                                                     /s/ Chad F. Kenney
                                                     __________________________
                                                     CHAD F. KENNEY, JUDGE
